Case 2:18-cv-00014-JRG-RSP Document 192 Filed 03/14/19 Page 1 of 2 PageID #: 3064



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

   PLASTRONICS SOCKET                          §
   PARTNERS, LTD. AND                          §
   PLASTRONICS H-PIN, LTD.,                    §
                                               §
         Plaintiffs,                           §
                                                      Case No. 2:18-cv-00014-JRG-RSP
                                               §
   v.                                          §
                                               §
   DONG WEON HWANG, HICON                      §
   CO., LTD., AND HICON                        §
   COMPANY,                                    §
                                               §
         Defendants.                           §

                                           ORDER

         The Magistrate Judge previously entered his Report and Recommendation (Dkt.

  No. 165), which recommended denial of Defendants HiCon Co., Ltd.’s and HiCon

  Company’s Motion to Dismiss for Lack of Standing (Dkt. No. 83). Defendants

  HiCon Co., Ltd. and HiCon Company have now filed an Objection to that Report

  and Recommendation. (Dkt. No. 179.)

         After consideration of the briefing on Defendants’ Motion to Dismiss, the Report

  and Recommendation, Defendants’ Objection to the Report and Recommendation, and

  Plaintiffs’ Response to that objection (Dkt. No. 190), the Court concludes that the

  objections are without sufficient merit. While Defendants argue that Hwang would be

  procedurally unable to defend against any claims of invalidity, the Court points out that no

  patent invalidity claims are being made in this case. For that reason and the other reasons



                                             1/2
Case 2:18-cv-00014-JRG-RSP Document 192 Filed 03/14/19 Page 2 of 2 PageID #: 3065



  stated within the Report, the Court agrees with the conclusion reached within the Report.

  The Magistrate Judge’s Recommendation is therefore ADOPTED.
       SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 14th day of March, 2019.




                                                    ____________________________________
                                                    RODNEY GILSTRAP
                                                    UNITED STATES DISTRICT JUDGE




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